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                                                           Government Exhibit 12a
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                                                                Government Exhibit 12d
